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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                              :      CHAPTER 7
                                                    :
HP/SUPERIOR, INC.                                   :      CASE NO. 14-71797 - PWB
                                                    :
         Debtor.                                    :

 MOTION FOR ORDER AUTHORIZING SETTLEMENT BETWEEN TRUSTEE AND
  ALTACARE CORPORATION; HP/WICHITA HILL, INC.; LTC HEALTHCARE AT
    FLORENCE, INC.; HP/CAMBRIDGE HOUSE, INC.; HP/CARRINGTON, INC.;
   FIRESIDE-LTC, LLC; FIVE RIVERS MANAGEMENT, LLC; FRIENDSHIP-LTC,
 LLC; GREAT BEND-LTC, LLC; ROSEWOOD-LTC, LLC; WOODLAND PARK-LTC,
   LLC; LONG TERM CARE SERVICES, INC.; DOUGLAS MITTLEIDER; DAREN
  DOUSTON; AND KERRY GIBSON UNDER RULE 9019 OF THE FEDERAL RULES
                       OF BANKRUPTCY PROCEDURE

         COMES NOW S. Gregory Hays, Chapter 7 Trustee (“Trustee”) for the bankruptcy estate

(the “Bankruptcy Estate”) of HP/Superior, Inc. (“Debtor”), by and through the undersigned

counsel, and files his Motion for Order Authorizing Settlement between Trustee and Altacare

Corporation; HP/Wichita Hill, Inc.; LTC Healthcare at Florence, Inc.; HP/Cambridge House,

Inc.; HP/Carrington, Inc.; Fireside-LTC, LLC; Five Rivers Management, LLC; Friendship-LTC,

LLC; Great Bend-LTC, LLC; Rosewood-LTC, LLC; Woodland Park-LTC, LLC; Long Term

Care Services, Inc.; Douglas Mittleider; Daren Douston; and Kerry Gibson under Rule 9019 of

the Federal Rules of Bankruptcy Procedure (the “Settlement Motion”). In support of the

Settlement Motion, Trustee respectfully shows the Bankruptcy Court as follows:

                                    Jurisdiction and Venue

         1.    This Bankruptcy Court has jurisdiction over this Settlement Motion under 28

U.S.C. §§ 157 and 1334. Venue of this case in this District is proper under 28 U.S.C. §§ 1408

and 1409. The statutory predicate for the relief sought in this Settlement Motion is Rule 9019 of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”). This Settlement Motion



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is a core proceeding under 28 U.S.C. § 157(b)(2).

                                         Background

                                    i. General Background

         2.   On November 3, 2014 (the “Petition Date”), Debtor filed a voluntary petition for

relief under Chapter 11 of Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (as

amended, modified, or supplemented, the “Bankruptcy Code”) in the United States Bankruptcy

Court for the Northern District of Georgia, Atlanta Division (“Bankruptcy Court”), initiating

Chapter 11 Case No. 14-71797-PWB (the “Bankruptcy Case”).

         3.   On January 6, 2015 (the “SHI Petition Date”), Superior Healthcare Investors,

Inc. (“SHI”) filed a voluntary petition for relief under Chapter 11 of the Bankruptcy Code,

initiating Case No. 15-50439-PWB in the Bankruptcy Court (the “SHI Bankruptcy Case”).

         4.   On February 3, 2015, the Bankruptcy Court entered an order [Doc. No. 59; Case

No. 14-71797-PWB] authorizing the joint administration of the Bankruptcy Case and the SHI

Bankruptcy Case for procedural purposes only under Rule 1015(b) of the Federal Rules of

Bankruptcy Procedure.

         5.   On October 27, 2015, the Bankruptcy Court entered an order [Doc. No. 141; Case

No. 14-71797-PWB] directing the appointment of Chapter 11 trustees on behalf of Debtor and

SHI.

         6.   On October 30, 2015, the Bankruptcy Court entered an order [Doc. No. 146; Case

No. 14-71797-PWB] approving Trustee as Chapter 11 Trustee for Debtor, and on the same day

the Bankruptcy Court entered an order [Doc. No. 23; Case No 15-50439-PWB] approving Cathy

L. Scarver (“Ms. Scarver”) as Chapter 11 Trustee for SHI.

         7.   On November 17, 2015, the Bankruptcy Court entered an order [Doc. No. 168;




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cases under Chapter 11 to cases under Chapter 7 of the Bankruptcy Code effective as of

November 4, 2015 and severing their joint administration.

         8.    On November 23, 2015, the United States Trustee appointed Trustee as the

Chapter 7 Trustee in the Bankruptcy Case. [Doc. No. 170; Case No. 14-71797-PWB]. Trustee

held and concluded the Section 341 meeting of creditors on January 12, 2016, and Trustee is now

the permanent Chapter 7 Trustee in the Bankruptcy Case.

         9.    Prior to the Petition Date, and for the majority of the time that the Bankruptcy

Case was pending as a Chapter 11 case, Debtor operated a long-term nursing home facility

located in the City of Superior, Douglas County Wisconsin on real property owned by SHI.

                                 ii. The Adversary Proceedings

         10.   On November 2, 2016, Trustee initiated 12 adversary proceedings (the

“Adversary Proceedings”) in the Bankruptcy Case by filing complaints against AltaCare

Corporation (“Altacare”); HP/Wichita Hill, Inc. (“HP/Wichita”); LTC Healthcare at Florence,

Inc. (“LTC Healthcare”); HP/Cambridge House, Inc. (“HP/Cambridge”); HP/Carrington, Inc.

(“HP/Carrington”); Fireside-LTC, LLC (“Fireside”); Five Rivers Management, LLC (“Five

Rivers”); Friendship-LTC, LLC (“Friendship”); Great Bend-LTC, LLC (“Great Bend”);

Rosewood-LTC, LLC (“Rosewood”); Woodland Park-LTC, LLC (“Woodland”); and Long

Term Care Services, Inc. (“Long Term Care” and together with Altacare, HP/Wichita, LTC

Healthcare, HP/Cambridge, HP/Carrington, Fireside, Five Rivers, Friendship, Great Bend,

Rosewood, and Woodland, the “Defendants”), respectively, as follows.




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                                                             Adversary
                    Defendant                             Proceeding No.
                    Altacare Corporation                 16-5288-PWB
                    HP/Wichita Hill, Inc.                16-5289-PWB
                    LTC Healthcare at Florence, Inc.     16-5290-PWB
                    HP/Cambridge House, Inc.             16-5291-PWB
                    HP/Carrington, Inc.                  16-5292-PWB
                    Fireside-LTC, LLC                    16-5293-PWB
                    Five Rivers Management, LLC          16-5294-PWB
                    Friendship-LTC, LLC                  16-5295-PWB
                    Great Bend-LTC, LLC                  16-5296-PWB
                    Rosewood-LTC, LLC                    16-5297-PWB
                    Woodland Park-LTC, LLC               16-5298-PWB
                    Long Term Care Services, Inc.        16-5299-PWB

         11.   In the Adversary Proceedings, Trustee, among other things, sought the avoidance

and recovery of various pre and post-petition transfers, or their value, of Debtor’s interest in

property to the Defendants.

         12.   The Defendants contest all claims that Trustee raised against them in the

Adversary Proceedings. All claims raised by Trustee in the Adversary Proceedings are hereafter

the “Avoidance Disputes”.

         13.   On or about August 31, 2017, the Bankruptcy Court entered orders authorizing

Trustee and the Defendants to mediate the Avoidance Disputes through a mediation hosted by

the Honorable Mary Grace Diehl (the “Mediation”).

                                  The Proposed Settlement

         14.   As a result of the Mediation, Trustee, the Defendants, Mr. Douglas Mittleider

(“Mr. Mittleider”), Mr. Daren Douston (“Mr. Douston”), and Mr. Kerry Gibson (“Mr.

Gibson” and with Trustee, the Defendants, Mr. Mittleider, and Mr. Douston, the “Settling




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Parties”) 1 have reached an agreement resolving the claims raised by Trustee against the

Defendants as to the Avoidance Disputes and all other claims between Trustee, on the one hand,

and the Defendants, Mr. Mittleider, Mr. Douston, and Mr. Gibson, on the other hand and have

entered a Settlement Agreement (the “Settlement Agreement”) in this regard, subject to Court

approval. A copy of the Settlement Agreement is attached as Exhibit “A” to this Settlement

Motion and is incorporated herein by reference. Significant terms of the Settlement Agreement

follow:2

                  a. After the Settlement Approval Order 3 becomes final, the Defendants, who
                     are jointly and severally responsible for the payment of the settlement
                     funds, shall pay a total of $350,000.00 (the “$350,000.00 Settlement
                     Funds”) in good funds to Trustee in resolution of the Avoidance Disputes
                     in accordance with the following schedule (the “Scheduled Payments”):

                          i. $120,000.00 (the “First $120,000.00 Payment”) within 30 days of
                             the Settlement Approval Order becoming final;

                         ii. Six payments of $33,333.33 every 90 days after the First
                             $120,000.00 Payment is made (collectively, the “Installment
                             Payments”); and

                         iii. $30,000.00 within 90 days after the final of the Installment
                              Payments is made.

                  b. Effective upon the Settlement Approval Order becoming final, the
                     Defendants shall execute consent orders (“Consent Orders”) and consent
                     judgments (the “Consent Judgments”), substantially in the form of the
                     order and judgment attached to the Settlement Agreement as Exhibit “A,”
                     in the Adversary Proceedings in favor of Trustee and against the


1
     Mr. Mittleider is the president of Debtor, Altacare, HP/Wichita, LTC Healtchare,
HP/Cambridge, HP/Carrington, and Long Term Care. Mr. Douston and Mr. Gibson are the
members of Fireside, Five Rivers, Friendship, Great Bend, Rosewood, and Woodland.

2      The following is a summary of the Settlement Agreement and is not intended to be
comprehensive. To the extent that anything in this summary is contrary to the terms of the
Settlement Agreement, the Settlement Agreement shall control.
3      Capitalized terms not defined in this Settlement Motion shall have the meanings ascribed
to them in the Settlement Agreement.


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                    Defendants in amounts equal to the total amounts Trustee claimed against
                    the respective Defendant in the respective Adversary Proceeding. Trustee
                    shall hold the Consent Orders and Consent Judgments in escrow except as
                    expressly set forth in Section 2.5 of the Settlement Agreement.

               c. If Defendants fail to pay timely the Scheduled Payments as set forth in
                  Section 2.2 of the Settlement Agreement, the Defendants shall be entitled
                  to two, and only two, 15-day cure periods following notice (the “Default
                  Notice”) by Trustee to the Defendants, in which Trustee shall notify the
                  Defendants that they have failed to make a Scheduled Payment and which
                  notice shall be given as set forth in Section 12 of the Settlement
                  Agreement. Following the Defendants’ receipt, as set forth in Section 12
                  of the Settlement Agreement, of a Default Notice, the Defendants shall
                  have fifteen days to cure the non-payment (the “15-Day Cure
                  Opportunity”) of the Scheduled Payment by delivering the respective
                  Scheduled Payment to Trustee as set forth in Section 2.2 of the Settlement
                  Agreement. After the two permitted cure periods have been used, Trustee
                  shall be entitled to strict compliance with all subsequent payment
                  deadlines.

               d. If the Defendants: (a) fail to cure timely an unpaid Scheduled Payment
                  following one of their two 15-day Cure Opportunities, or (b) fail to pay
                  timely a Scheduled Payment after they have exhausted their two 15-day
                  Cure Opportunities, then:

                        i. Trustee shall be entitled to seek entry of the Consent Orders and
                           the Consent Judgments by the Bankruptcy Court in the Adversary
                           Proceedings and then to take any other actions necessary or
                           appropriate to collect the Consent Judgments; and

                       ii. Trustee shall be authorized to take all steps necessary to compel
                           the Defendants to comply with the terms of the Settlement
                           Agreement.

               e. Effective upon the Settlement Approval Order becoming final, and except
                  for the rights, duties, and obligations created or preserved under the
                  Settlement Agreement, the Defendants, Mr. Mittleider, Mr. Douston, and
                  Mr. Gibson release, acquit, and forever discharge Trustee and the
                  Bankruptcy Estate and each and every past and present agent, servant,
                  employee, representative and attorney of Trustee or the Bankruptcy Estate
                  from any and all Claims (as defined in Section 9 of the Settlement
                  Agreement) of any kind, character or nature whatsoever, known or
                  unknown, fixed or contingent, that the Defendants, Mr. Mittleider, Mr.
                  Douston, or Mr. Gibson may have or claim to have against Trustee or the
                  Bankruptcy Estate prior to the Effective Date.




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                  f. Effective upon Trustee’s receiving $200,000.00 of the $350,000.00
                     Settlement Funds from the Defendants and the Settlement Approval Order
                     becoming final, and except for the rights, duties, and obligations created or
                     preserved under the Settlement Agreement, Trustee releases, acquits, and
                     forever discharges Fireside, Five Rivers, Friendship, Great Bend,
                     Rosewood, Woodland Park, Mr. Douston, and Mr. Gibson from any and
                     all Claims (as defined in Section 9 of the Settlement Agreement) of any
                     kind, character or nature whatsoever, known or unknown, fixed or
                     contingent, that Trustee may have or claim to have against Fireside, Five
                     Rivers, Friendship, Great Bend, Rosewood, Woodland Park, Mr. Douston,
                     and Mr. Gibson prior to the Effective Date.

                  g. Effective upon Trustee’s receiving the entirety of $350,000.00 Settlement
                     Funds from the Defendants and the Settlement Approval Order becoming
                     final, and except for the rights, duties, and obligations created or preserved
                     under the Settlement Agreement, Trustee releases, acquits, and forever
                     discharges Altacare, HP/Wichita, LTC Healthcare, HP/Cambridge,
                     HP/Carrington, Long Term Care, and Mr. Mittleider from any and all
                     Claims (as defined in Section 9 of the Settlement Agreement) of any kind,
                     character or nature whatsoever, known or unknown, fixed or contingent,
                     that Trustee may have or claim to have against Altacare, HP/Wichita, LTC
                     Healthcare, HP/Cambridge, HP/Carrington, Long Term Care, and Mr.
                     Mittleider prior to the Effective Date.

                  h. The Settling Parties stipulate and agree that neither the Defendants, Mr.
                     Mittleider, Mr. Douston, nor Mr. Gibson shall have a claim in the
                     Bankruptcy Case against the Bankruptcy Estate for or on account of
                     payment of all or any portion of the $350,000.00 Settlement Funds, or for
                     any reason, and that neither the Defendants, Mr. Mittleider, Mr. Douston,
                     Mr. Gibson nor any of their affiliates, agents, principals, or subsidiaries
                     shall receive a distribution from the Bankruptcy Estate.

                  i. Within fifteen (15) business days of Trustee’s actual receipt of the
                     $350,000.00 Settlement Funds from the Defendants, Trustee and the
                     Defendants shall file stipulations dismissing with prejudice the Adversary
                     Proceedings.

                                       Relief Requested

         15.   By this Settlement Motion, Trustee requests that the Bankruptcy Court approve

the Settlement Agreement between the Settling Parties.




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                                         Basis for Relief

         16.   Federal Rule of Bankruptcy Procedure 9019(a) provides, in pertinent part, that

“[o]n motion by Trustee and after notice of a hearing, the court may approve a compromise or

settlement.” Fed. R. Bankr. P. 9019(a). The standard in this Circuit for determining whether to

approve a compromise or settlement pursuant to Rule 9019(a) is set forth in Wallis v. Justice

Oaks II, Ltd. (In re Justice Oaks II, Ltd.), 898 F.2d 1544 (11th Cir. 1990), cert. denied, 498 U.S.

959 (1990), in which the Eleventh Circuit stated as follows:

         When a bankruptcy court decides whether to approve or disapprove a proposed
         settlement, it must consider:

               (a) The probability of success in the litigation; (b) the difficulties,
               if any, to be encountered in the matter of collection; (c) the
               complexity of the litigation involved, and the expense,
               inconvenience and delay necessarily attending it; (d) the
               paramount interest of the creditors and a proper deference to their
               reasonable views in the premises.

Id. at 1549. In making its evaluation, a court must not rest its approval of the settlement on a

resolution of the ultimate factual and legal issues underlying the compromised disputes. In re

Teltronics Servs., Inc., 762 F.2d 185, 189 (2d Cir. 1985). Rather, the court should consider the

probable outcome of the litigation, including its advantages and disadvantages, and make a

pragmatic decision based on all equitable factors. Florida Trailer and Equip. Co. v. Deal, 284

F.2d 567, 571 (5th Cir. 1960).4

         17.   The proposed settlement between the Settling Parties is the product of a judicially

hosted Mediation and arms’ length negotiations and reflects the Settling Parties’ analysis and

consideration of the relevant legal, factual, and economic issues.



4
        In Bonner v. City of Prichard, 661 F.2d 1206, 1207 (11th Cir. 1981) (en banc), the
Eleventh Circuit Court of Appeals adopted as binding precedent the decisions of the former Fifth
Circuit issued before October 1, 1981.


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         18.    Given the potential expense of litigating the claims raised by Trustee against the

Defendants, and the contingent nature of the same, in the event that the claims that are proposed

to be settled are instead prosecuted, the amount of time that such litigation will require, the delay

before the final outcome is known (including the time necessary for any potential appeals), the

complexity and uncertain resolution of factual and legal disputes, and the costs of collecting on

any resulting judgments in favor of Trustee, settlement on the terms described in the Settlement

Agreement is a proper exercise of the Trustee’s business judgment and in the best interests of the

Bankruptcy Estate.

         19.    Under the standard set forth above and for the reasons previously detailed in this

Settlement Motion, Trustee urges that this Bankruptcy Court approve the Settlement Agreement.

         WHEREFORE, Trustee respectfully requests that the Bankruptcy Court enter an Order (i)

granting this Settlement Motion; (ii) authorizing Trustee to take actions reasonably necessary to

effectuate the terms of the Settlement Agreement; and (iii) granting to the parties such other and

further relief as the Court deems just and appropriate.

         Respectfully submitted, this 29th day of December, 2017.

                                                      ARNALL GOLDEN GREGORY LLP
                                                      Attorneys for Trustee

                                                      By: /s/ Michael J. Bargar
                                                           Karen B. Bragman
                                                           Georgia Bar No. 075755
                                                           karen.bragman@agg.com
171 17th Street, NW, Suite 2100                            Michael J. Bargar
Atlanta, GA 30363                                          Georgia Bar No. 645709
(404) 873-8500                                             michael.bargar@agg.com




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                            EXHIBIT “A” FOLLOWS




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5.       On October 30, 2015, the Bankruptcy Court entered an order [Doc. No. 146; Case
         No. 14-71797-PWB] approving Trustee as Chapter 11 Trustee for Debtor, and on the
         same day the Bankruptcy Court entered an order [Doc. No. 23; Case No 15-50439-
         PWB] approving Cathy L. Scarver (“Ms. Scarver”) as Chapter 11 Trustee for SHI.

6.       On November 17, 2015, the Court entered an order [Doc. No. 168; Case No. 14-
         71797-PWB] converting the Bankruptcy Case and the SHI Bankruptcy Case from
         cases under Chapter 11 to cases under Chapter 7 of the Bankruptcy Code effective as
         of November 4, 2015 and severing their joint administration.

7.       On November 23, 2015, the United States Trustee appointed Trustee as the Chapter 7
         Trustee in the Bankruptcy Case. [Doc. No. 170; Case No. 14-71797-PWB]. Trustee
         held and concluded the Section 341 meeting of creditors on January 12, 2016, and
         Trustee is now the permanent Chapter 7 Trustee in the Bankruptcy Case.

8.       Prior to the Petition Date, and for the majority of the time that the Bankruptcy Case
         was pending as a Chapter 11 case, Debtor operated a long-term nursing home facility
         located in the City of Superior, Douglas County Wisconsin on real property owned
         by SHI.

                                   ii. The Adversary Proceedings

9.       On November 2, 2016, Trustee initiated 12 adversary proceedings (the “Adversary
         Proceedings”) in the Bankruptcy Case by filing complaints against the Defendants, as
         follows:

                                                                 Adversary
                      Defendant                               Proceeding No.
                      Altacare Corporation                   16-5288-PWB
                      HP/Wichita Hill, Inc.                  16-5289-PWB
                      LTC Healthcare at Florence, Inc.       16-5290-PWB
                      HP/Cambridge House, Inc.               16-5291-PWB
                      HP/Carrington, Inc.                    16-5292-PWB
                      Fireside-LTC, LLC                      16-5293-PWB
                      Five Rivers Management, LLC            16-5294-PWB
                      Friendship-LTC, LLC                    16-5295-PWB
                      Great Bend-LTC, LLC                    16-5296-PWB
                      Rosewood-LTC, LLC                      16-5297-PWB
                      Woodland Park-LTC, LLC                 16-5298-PWB
                      Long Term Care Services, Inc.          16-5299-PWB


10.      In the Adversary Proceedings, Trustee, among other things, sought the avoidance and
         recovery of various pre and post-petition transfers, or their value, of Debtor’s interest in
         property to the Defendants.

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11.      The Defendants contest all claims that Trustee raised against them in the Adversary
         Proceedings. All claims raised by Trustee in the Adversary Proceedings are hereafter the
         “Avoidance Disputes”.

12.      On or about August 31, 2017, the Bankruptcy Court entered orders authorizing Trustee
         and the Defendants to mediate the Avoidance Disputes through a mediation hosted by the
         Honorable Mary Grace Diehl (the “Mediation”).

13.      As a result of the Mediation, Trustee, the Defendants, Mr. Mittleider, Mr. Douston, and
         Mr. Gibson (collectively, the “Settling Parties”) have reached an agreement resolving
         the claims raised by Trustee against the Defendants as to the Avoidance Disputes and all
         other claims between Trustee, on the one hand, and the Defendants, Mr. Mittleider, Mr.
         Douston, and Mr. Gibson, on the other hand.

         Accordingly, the Settling Parties agree as follows:

1.       Background. The recitations in the above background section are incorporated into this
         Agreement as if set forth fully herein.

2.       Resolution of the Avoidance Disputes. Subject to approval of this Agreement by the
         Bankruptcy Court, following notice and the opportunity for a hearing, the Settling Parties
         agree to resolve the Avoidance Disputes as follows:

         2.1.   Approval of Proposed Settlement. Within five (5) business days after execution
                of this Agreement by each of the Settling Parties, Trustee shall prepare and file
                the necessary pleadings, including, but not limited to, a motion pursuant to Rule
                9019 of the Federal Rules of Bankruptcy Procedure (“Settlement Approval
                Motion”), seeking entry of an order by the Bankruptcy Court approving the
                compromise and settlement contemplated herein (“Settlement Approval
                Order”).

                For the purposes of this Agreement, the Settlement Approval Order becomes final
                when it has been entered on the docket in the Bankruptcy Case and it (a) has not
                been reversed, stayed, modified or amended and as to which the time to appeal
                from, or to seek review or rehearing of, has expired and as to which no appeal or
                petition for review, rehearing or certiorari is pending; or (b) if appealed from, has
                been affirmed (or the appeal dismissed) and the time to appeal from such
                affirmance or to seek review or rehearing thereof has expired, or no further
                hearing, appeal or petition for certiorari can be taken or granted.

         2.2.   Payment of Settlement Funds by the Defendants to Trustee. After the Settlement
                Approval Order becomes final, the Defendants, who are jointly and severally
                responsible for the payment of the settlement funds, shall pay a total of
                $350,000.00 (the “$350,000.00 Settlement Funds”) in good funds to Trustee in



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                resolution of the Avoidance Disputes in accordance with the following schedule
                (the “Scheduled Payments”):

                2.2.1. $120,000.00 (the “First $120,000.00 Payment”) within 30 days of the
                       Settlement Approval Order becoming final;

                2.2.2. Six payments of $33,333.33 every 90 days after the First $120,000.00
                       Payment is made (collectively, the “Installment Payments”); and

                2.2.3. $30,000.00 within 90 days after the final of the Installment Payments is
                       made.

                For avoidance of doubt, the Defendants shall pay all portions of the $350,000.00
                Settlement Funds to Trustee by causing checks from the IOLTA account of their
                attorney, the Falcone Law Firm, P.C. or any other law firm that they hire, made
                payable to “S. Gregory Hays, Trustee (HP/Superior, Inc.)” to be delivered to
                counsel for Trustee, Michael J. Bargar, addressed as follows:

                Michael J. Bargar
                Arnall Golden Gregory LLP
                171 17th Street, NW, Suite 2100
                Atlanta, Georgia 30363

                In addition, by way of further clarification, the Settling Parties agree that the
                Scheduled Payments shall be deemed received by Trustee when the related check
                from the IOLTA account of the Falcone Law Firm, P.C. or any other law firm that
                Defendants hire is delivered to counsel for Trustee, Michael J. Bargar.

         2.3.   Events of Default and Limited Cure Periods. If Defendants fail to pay timely the
                Scheduled Payments as set forth in Section 2.2 of this Agreement, the Defendants
                shall be entitled to two, and only two, 15-day cure periods following notice (the
                “Default Notice”) by Trustee to the Defendants, in which Trustee shall notify the
                Defendants that they have failed to make a Scheduled Payment and which notice
                shall be given as set forth in Section 12 of this Agreement. Following the
                Defendants’ receipt, as set forth in Section 12 of this Agreement, of a Default
                Notice, the Defendants shall have fifteen days to cure the non-payment (the “15-
                Day Cure Opportunity”) of the Scheduled Payment by delivering the respective
                Scheduled Payment to Trustee as set forth in Section 2.2 of this Agreement. After
                the two permitted cure periods have been used, Trustee shall be entitled to strict
                compliance with all subsequent payment deadlines.

         2.4.   Trustee entitled to Judgments Against each of the Defendants in the Respective
                Adversary Proceedings. Effective upon the Settlement Approval Order becoming
                final, the Defendants shall execute consent orders (“Consent Orders”) and
                consent judgments (the “Consent Judgments”), substantially in the form of
                the order and judgment attached hereto as Exhibit “A,” in the Adversary


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                Proceedings in favor of Trustee and against the Defendants in amounts equal
                to the total amounts Trustee claimed against the respective Defendant in the
                respective Adversary Proceeding. Trustee shall hold the Consent Orders and
                Consent Judgments in escrow except as expressly set forth in Section 2.5 of this
                Agreement.

         2.5.   Remedies following Default. If the Defendants: (a) fail to cure timely an unpaid
                Scheduled Payment following one of their two 15-day Cure Opportunities, or (b)
                fail to pay timely a Scheduled Payment after they have exhausted their two 15-
                day Cure Opportunities, then:

                2.5.1.     Trustee shall be entitled to seek entry of the Consent Orders and the
                           Consent Judgments by the Bankruptcy Court in the Adversary
                           Proceedings and then to take any other actions necessary or
                           appropriate to collect the Consent Judgments; and

                2.5.2.     Trustee shall be authorized to take all steps necessary to compel the
                           Defendants to comply with the terms of this Agreement.

         2.6.   Release by the Defendants, Mr. Mittleider, Mr. Douston, and Mr. Gibson of
                Trustee and the Bankruptcy Estate. Effective upon the Settlement Approval
                Order becoming final, and except for the rights, duties, and obligations created or
                preserved under this Agreement, the Defendants, Mr. Mittleider, Mr. Douston,
                and Mr. Gibson release, acquit, and forever discharge Trustee and the Bankruptcy
                Estate and each and every past and present agent, servant, employee,
                representative and attorney of Trustee or the Bankruptcy Estate from any and all
                Claims (as defined in Section 9 of this Agreement) of any kind, character or
                nature whatsoever, known or unknown, fixed or contingent, that the Defendants,
                Mr. Mittleider, Mr. Douston, or Mr. Gibson may have or claim to have against
                Trustee or the Bankruptcy Estate prior to the Effective Date.

         2.7.   Release by Trustee of Fireside, Five Rivers, Friendship, Great Bend, Rosewood,
                Woodland Park, Mr. Douston, and Mr. Gibson. Effective upon Trustee’s
                receiving $200,000.00 of the $350,000.00 Settlement Funds from the Defendants
                and the Settlement Approval Order becoming final, and except for the rights,
                duties, and obligations created or preserved under this Agreement, Trustee
                releases, acquits, and forever discharges Fireside, Five Rivers, Friendship, Great
                Bend, Rosewood, Woodland Park, Mr. Douston, and Mr. Gibson from any and all
                Claims (as defined in Section 9 of this Agreement) of any kind, character or
                nature whatsoever, known or unknown, fixed or contingent, that Trustee may
                have or claim to have against Fireside, Five Rivers, Friendship, Great Bend,
                Rosewood, Woodland Park, Mr. Douston, and Mr. Gibson prior to the Effective
                Date.

         2.8.   Release by Trustee of Altacare, HP/Wichita, LTC Healthcare, HP/Cambridge,
                HP/Carrington, Long Term Care, and Mr. Mittleider. Effective upon Trustee’s


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                 receiving the entirety of $350,000.00 Settlement Funds from the Defendants and
                 the Settlement Approval Order becoming final, and except for the rights, duties,
                 and obligations created or preserved under this Agreement, Trustee releases,
                 acquits, and forever discharges Altacare, HP/Wichita, LTC Healthcare,
                 HP/Cambridge, HP/Carrington, Long Term Care, and Mr. Mittleider from any
                 and all Claims (as defined in Section 9 of this Agreement) of any kind, character
                 or nature whatsoever, known or unknown, fixed or contingent, that Trustee may
                 have or claim to have against Altacare, HP/Wichita, LTC Healthcare,
                 HP/Cambridge, HP/Carrington, Long Term Care, and Mr. Mittleider prior to the
                 Effective Date.

         2.9.    No Claim Against the Bankruptcy Estate. The Settling Parties stipulate and agree
                 that neither the Defendants, Mr. Mittleider, Mr. Douston, nor Mr. Gibson shall
                 have a claim in the Bankruptcy Case against the Bankruptcy Estate for or on
                 account of payment of all or any portion of the $350,000.00 Settlement Funds, or
                 for any reason, and that neither the Defendants, Mr. Mittleider, Mr. Douston, Mr.
                 Gibson nor any of their affiliates, agents, principals, or subsidiaries shall receive a
                 distribution from the Bankruptcy Estate.

         2.10.   Dismissal of Adversary Proceedings. Within fifteen (15) business days of
                 Trustee’s actual receipt of the $350,000.00 Settlement Funds from the
                 Defendants, Trustee and the Defendants shall file stipulations dismissing with
                 prejudice the Adversary Proceedings.

3.       No Admissions. The Settling Parties acknowledge and agree that this Agreement is
         being executed and delivered as part of the compromise and settlement of disputed claims
         and is expressly contingent upon and subject to the approval of the Bankruptcy Court.
         The Settling Parties further acknowledge and agree that this Agreement will not and may
         not be used or construed as an admission of any liability or responsibility to any Party or
         to any other persons.

4.       Entire Agreement; Modification. The Settling Parties agree that there are no other
         agreements, oral or written, between or among them relating to any matters covered by
         this Agreement and that this Agreement constitutes the entire agreement and
         understanding between the Settling Parties relating to the subject matter contained herein.
         The Settling Parties further agree that this Agreement may not be altered, amended, or
         modified in any respect or particular whatsoever, except by a writing duly executed by
         Trustee, the Defendants, Mr. Mittleider, Mr. Douston, and Mr. Gibson and that any
         material amendment is subject to Bankruptcy Court approval.

5.       Voluntary Execution of Agreement. The Settling Parties hereby mutually acknowledge
         and represent and warrant that they have been fully advised by their respective legal
         counsel of their rights and responsibilities under this Agreement, that they have read,
         know, and understand completely the contents hereof, and that they have voluntarily
         executed the same. The Settling Parties further mutually acknowledge and represent and
         warrant that they have had input into the drafting of this Agreement and that, accordingly,


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         in any construction to be made of this Agreement, it shall not be construed for or against
         any of Trustee, the Defendants, Mr. Mittleider, Mr. Douston, or Mr. Gibson but rather
         shall be given fair and reasonable interpretation based on the plain language of this
         Agreement and the expressed intent of the Settling Parties.

6.       Authority of Settling Parties. The persons executing this Agreement represent and
         warrant that they have the legal and institutional authority to do so on behalf of the
         person or legal entity for which they are signing.

7.       Counterparts. This Agreement may be executed in one or more counterparts, each of
         which is an original, and all of which constitute only one agreement between the Settling
         Parties. Counterparts of this Agreement also may be exchanged via electronic
         transmission such as facsimile machines or computer, and any Party’s signature
         transmitted by such electronic transmission shall be deemed to be an original signature
         for all purposes.

8.       Bankruptcy Court Jurisdiction. The Bankruptcy Court shall retain jurisdiction over the
         Settling Parties for enforcement of this Agreement and any and all disputes, controversies, or
         claims regarding the interpretation, validity, construction or other issue relating to or
         concerning this Agreement. An action relating to, based upon, or arising from a breach of
         this Agreement shall be brought only in the Bankruptcy Court which shall retain jurisdiction
         over the subject matter and the Settling Parties for this purpose.

9.       Definition of Claims. The term “Claims” means all claims or causes of action that were
         asserted or could have been brought as of the Effective Date by or on behalf of any Party
         to this Agreement, either directly or indirectly, in respect of, in relation to, or in
         connection with the Bankruptcy Case or the Adversary Proceedings.

10.      Applicable Law. This Agreement shall be governed by, and construed in accordance
         with, the laws of the State of Georgia, without regard to its conflict of law principles.

11.      Severability. If any provision of this Agreement is illegal or unenforceable, that
         provision is severed from this Agreement and the other provisions remain in force;
         provided, however, that the payments required by Section 2.2 of this Agreement are
         central to the Agreement and may not be severed or stricken from the Agreement.

12.      Notices. Any notices by Settling Parties provided for or permitted under this Agreement,
         or by law, shall be in writing and shall be deemed received: (a) when personally delivered
         to a party, on the date of such delivery; or (b) when sent via electronic mail to a party at
         the electronic mail address set forth below, on the date of transmission, provided that the
         transmitting Party has no reasonable belief that the electronic mail was not delivered; or
         (c) when deposited in the United States Mail, certified and postage prepaid, addressed to
         such party at the address set forth below, five (5) days following the deposit of such
         notice in the mail. Notices shall be sent to the parties as follows




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         12.1.   If to Trustee:

                         Michael J. Bargar
                         Arnall Golden Gregory LLP
                         171 17th Street, NW, Suite 2100
                         Atlanta, GA 30363
                         michael.bargar@agg.com (electronic mail)

         12.2.   If to the Defendants:

                         Ian M. Falcone
                         The Falcone Law Firm, P.C.
                         363 Lawrence Street
                         Marietta, GA 30060
                         imf@falconefirm.com (electronic mail)

         12.3.   If to Mr. Mittleider:

                         Doug Mittleider
                         3050 Royal Boulevard South
                         Suite 190
                         Alpharetta, GA 30022

         12.4.   If to Mr. Douston:

                         Daren Douston
                         10945 State Bridge Road
                         Suite 401-470
                         Alpharetta, GA 30022

         12.5.   If to Mr. Gibson:

                         Kerry Gibson
                         118 White Dove Lane
                         Crowley, LA 70526


         The address to which notices are to be sent may be changed by any party by providing
         notice of the new address as provided herein.

13.      Restoration. In the event that the Bankruptcy Court denies approval of this Agreement,
         then, and in that event, unless otherwise agreed by the Settling Parties in writing, this
         Agreement shall terminate and be null and void and have no further force or effect and the
         Settling Parties shall be restored to their respective factual and legal positions which existed
         immediately prior to execution of this Agreement.
14.      Settling Parties to Bear Own Costs. Except as otherwise stated in this Agreement, each

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                            EXHIBIT “A” FOLLOWS




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                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION


IN RE:                                  )    CASE NO. 14-71797 - PWB
                                        )
HP/SUPERIOR, INC.,                      )    CHAPTER    7
                                        )
         Debtor.                        )
                                        )
                                        )
S. GREGORY HAYS, Chapter 7 Trustee      )    ADVERSARY PROCEEDING
for the Estate of HP/SUPERIOR, INC.,    )    NO. 16-05292-PWB
                                        )
         Plaintiff,                     )
                                        )
v.                                      )
                                        )
HP/CARRINGTON, INC. d/b/a THE           )
CARRINGTON,                             )
                                        )
         Defendant.                     )

                                 CONSENT ORDER




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          This matter is before the Court on the Motion for Entry of Consent Order and Consent

Final Judgment (the “Motion”) filed by S. Gregory Hays, as Chapter 7 Trustee and plaintiff

herein (“Trustee”), seeking, in accordance with that certain Settlement Agreement (the

“Settlement Agreement”) approved by Order of the Court [Case No. 14-71797-PWB; Doc. No.

__], entry of a Consent Order and Consent Final Judgment holding that certain Pre-Petition

Transfers and Post-Petition Transfers by Debtor to HP/Carringon, Inc. d/b/a The Carrington

(“HP/Carrington”) are avoided and that Trustee is entitled to recover the value of the same

from HP/Carrington, under various provisions of Title 11 of the United States Code and other

applicable law.1

          The Court having considered the Motion; Trustee and HP/Carrington having consented to

the entry of this Consent Order; and, for good cause shown, it is hereby

          ORDERED that the Motion is GRANTED. It is further

          ORDERED that the Pre-Petition Transfers are avoided under 11 U.S.C. § 548(a)(1)(A)

and (B), O.C.G.A. §§ 18-2-74(a) and 75(a) and (b), through 11 U.S.C. § 544(b), and 11 U.S.C. §

547. It is further

          ORDERED that the Post-Petition Transfers are avoided under 11 U.S.C. § 549. It is

further

          ORDERED that HP/Carrington is liable to Trustee in the amount of $437,500.00. It is

further

          ORDERED that final judgment shall be entered on Trustee’s Complaint in favor of

Trustee and against HP/Carrington in the amount of $437,500.00 plus interest on that amount

from the date of this judgment at the rate provided for under 28 U.S.C. § 1961. It is further


1
        Capitalized terms not defined in this Order shall have the meaning ascribed to them in Trustee’s Complaint
[Doc. No. 1].


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         ORDERED that Trustee may submit a final judgment to be entered in this adversary

proceeding. It is further

         ORDERED that, because there is no just reason for delay, the judgment granted Trustee

by this Order shall constitute a final judgment, within the meaning of Rule 54(b) of the Federal

Rules of Civil Procedure, made applicable to this adversary proceeding by Rule 7054(a) of the

Federal Rules of Bankruptcy Procedure.



                                   [END OF DOCUMENT]


Prepared and Consented to by:

ARNALL GOLDEN GREGORY LLP
Attorneys for Trustee

By:
    Michael J. Bargar
    Georgia Bar No. 645709
Direct Phone: (404) 873-7030
Direct Fax: (404) 873-7031
Email: michael.bargar@agg.com
171 17th Street, NW, Suite 2100
Atlanta, Georgia 30363

Reviewed and Consented to by:

THE FALCONE LAW FIRM, P.C.
Attorneys for Defendant

By:
    Ian M. Falcone
    Georgia Bar No. 254470
    imf@falconefirm.com
363 Lawrence Street
Marietta, GA 30060
Ph: 770.426.9359




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Identification of parties to be served:

Michael J. Bargar, Arnall Golden Gregory LLP, 171 17th Street, NW, Atlanta, GA 30363-1031

Ian M. Falcone, The Falcone Law Firm, P.C., 363 Lawrence Street, Marietta, Georgia 30060




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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION


IN RE:                                       )   CASE NO. 14-71797 - PWB
                                             )
HP/SUPERIOR, INC.,                           )   CHAPTER       7
                                             )
         Debtor.                             )
                                             )
                                             )
S. GREGORY HAYS, Chapter 7 Trustee           )   ADVERSARY PROCEEDING
for the Estate of HP/SUPERIOR, INC.,         )   NO. 16-05292-PWB
                                             )
         Plaintiff,                          )
                                             )
v.                                           )
                                             )
HP/CARRINGTON, INC. d/b/a THE                )
CARRINGTON,                                  )
                                             )
         Defendant.                          )

                             CONSENT FINAL JUDGMENT

         On November 2, 2016, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the

bankruptcy estate of HP/Superior, Inc. (“Debtor”), initiated this adversary proceeding against




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HP/Carringon, Inc. d/b/a The Carrington (“HP/Carrington”), by filing a Complaint [Doc. No. 1]

(the “Complaint”). Pursuant to the Complaint, Trustee sought, inter alia, the avoidance and

recovery of certain Pre-Petition Transfers and Post-Petition Transfers by Debtor to

HP/Carrington under various provisions of Title 11 of the United States Code and other

applicable law.1

         The Court having reviewed the filings of record; HP/Carrington having consented and

stipulated to the entry of this Consent Final Judgment; and, for good cause shown it is hereby

         ORDERED AND ADJUDGED that the Pre-Petition Transfers are avoided under 11

U.S.C. § 548(a)(1)(A) and (B), O.C.G.A. §§ 18-2-74(a) and 75(a) and (b), through 11 U.S.C. §

544(b), and 11 U.S.C. § 547. It is further

         ORDERED and ADJUDGED that the Post-Petition Transfers are avoided under 11

U.S.C. § 549. It is further

         ORDERED and ADJUDGED that HP/Carrington is liable to Trustee in the amount of

$437,500.00. It is further

         ORDERED AND ADJUDGED that final judgment is entered on Trustee’s Complaint in

favor of Trustee and against HP/Carrington in the amount of $437,500.00 plus interest on that

amount from the date of this judgment at the rate provided for under 28 U.S.C. § 1961.

         ORDERED AND ADJUDGED that, because there is no just reason for delay, this

judgment is a final judgment, within the meaning of Rule 54(b) of the Federal Rules of Civil

Procedure, made applicable to this adversary proceeding by Rule 7054(a) of the Federal Rules of

Bankruptcy Procedure.

                                        [END OF DOCUMENT]


1
        Capitalized terms not defined in this Judgment shall have the meanings ascribed to them in the Complaint
[Doc. No. 1].


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Prepared and Consented to by:

ARNALL GOLDEN GREGORY LLP
Attorneys for Plaintiff

By:
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      Georgia Bar No. 645709
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Reviewed and Consented to by:

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Attorneys for Defendant

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    Georgia Bar No. 254470
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363 Lawrence Street
Marietta, GA 30060
Ph: 770.426.9359

Identification of parties to be served:

Michael J. Bargar, Arnall Golden Gregory LLP, 171 17th Street, NW, Atlanta, GA 30363-1031

Ian M. Falcone, The Falcone Law Firm, P.C., 363 Lawrence Street, Marietta, Georgia 30060




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                                CERTIFICATE OF SERVICE

       This is to certify that I, Michael J. Bargar, am over the age of 18 and that I have this day
served a true and correct copy of the foregoing Motion for Order Authorizing Settlement between
Trustee and Altacare Corporation; HP/Wichita Hill, Inc.; LTC Healthcare at Florence, Inc.;
HP/Cambridge House, Inc.; HP/Carrington, Inc.; Fireside-LTC, LLC; Five Rivers Management,
LLC; Friendship-LTC, LLC; Great Bend-LTC, LLC; Rosewood-LTC, LLC; Woodland Park-
LTC, LLC; Long Term Care Services, Inc.; Douglas Mittleider; Daren Douston; and Kerry
Gibson under Rule 9019 of the Federal Rules of Bankruptcy Procedure by first class United
States mail on the following persons or entities at the addresses stated:

Office of the United States Trustee
362 Richard B. Russell Federal Building
75 Ted Turner Drive, SW
Atlanta, GA 30303

S. Gregory Hays
Hays Financial Consulting, LLC
2964 Peachtree Rd, NW, Suite 555
Atlanta, GA 30305

Cathy L. Scarver
P. O. Box 672587
Marietta, GA 30006

Ashley Reynolds Ray
Scroggins & Williamson
One Riverside, Suite 450
4401 Northside Parkway
Atlanta, GA 30327

HP/Superior, Inc.
5174 McGinnis Ferry Road
Suite 195
Alpharetta, GA 30005

Kevin A. Stine
Baker Donelson Bearman
Monarch Plaza, Suite 1600
3414 Peachtree Road, NE
Atlanta, GA 30326




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Internal Revenue Service
Insolvency Unit
401 West Peachtree Street
Stop 335-D
Atlanta, GA 30308

Department of Justice - Tax Division
Attn: Chief, Civil Trial Section
Southern Region
P.O. Box 14198
Ben Franklin Station
Washington, D.C. 20044

United States Attorney General
Main Justice Building
10th and Constitution Avenue, NW
Washington, D.C. 20530

U.S. Attorney
Northern District of Georgia
Civil Division, Attn: Civil Clerk
600 Richard B. Russell Building
75 Ted Turner Drive, S.W.
Atlanta, GA 30303

Lisa Johnson
Bankruptcy Specialist
Internal Revenue Service
401 W Peachtree ST, NW
M/S 334-D
Atlanta, GA 30308

Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346

F. Mark Bromley
Wisconsin Dept. of Justice
17 West Main Street
P. O. Box 7857
Madison, WI 53707-7857

Wisconsin Department of Revenue
Special Procedures Unit
PO Box 8901
Madison, WI 53708-8901



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Hiram Cutting
Wisconsin Department of Revenue
Special Procedures Unit
PO Box 8901
Madison, WI 53708-8901

The Stark Collection Agency Inc.
PO Box 45710
Madison, WI 53744-5710

State of Wisconsin, DWD – UI
PO Box 8914
Madison, WI 53708

Ariane Daniels
State of Wisconsin, DWD – UI
PO Box 8914
Madison, WI 53708

Badger Acquisition of Minnesota
d/b/a Omnicare of Minnesota
900 Omnicare Center
201 East Fourth Street
Cincinnati, OH 45202

JoAnn Billman
Omnicare, Inc.
900 Omnicare Center
201 East Fourth Street
Cincinnati, OH 45202

Lauren M. Gregory
Seyfarth Shaw LLP
1075 Peachtree Street, NE, Suite 2500
Atlanta, GA 30309

Ian M. Falcone
The Falcone Law Firm, P.C.
363 Lawrence Street
Marietta, GA 30060

Doug Mittleider
3050 Royal Boulevard South
Suite 190
Alpharetta, GA 30022



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Daren Douston
10945 State Bridge Road
Suite 401-470
Alpharetta, GA 30022

Kerry Gibson
118 White Dove Lane
Crowley, LA 70526




         This 29th day of December, 2017.
                                                    /s/ Michael J. Bargar
                                                    Michael J. Bargar
                                                    Georgia Bar No. 645709




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